                 Case 2:23-bk-15131-WB                            Doc 1 Filed 08/10/23 Entered 08/10/23 13:51:17                                   Desc
                                                                  Main Document    Page 1 of 25
 Fill in this information to identify the case:

 United States Bankruptcy Court for the:
                               Central District of California


 Case number (if known):                                            Chapter       11                                                   ❑ Check if this is an
                                                                                                                                           amended filing

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                       06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case number (if known). For
more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



    1. Debtor's name                              Hickam Harbor LLC



    2. All other names debtor used                The Lanai at Mamala Bay
       in the last 8 years

     Include any assumed names,
     trade names, and doing business
     as names



    3. Debtor's federal Employer                   4      6 – 3    7   2    6    7     0   0
       Identification Number (EIN)



    4. Debtor's address                            Principal place of business                                 Mailing address, if different from principal place of
                                                                                                               business


                                                   Number          Street                                      Number        Street

                                                   3465 Mamala Bay Dr.
                                                                                                               P.O. Box
                                                   Honolulu, HI 96818
                                                   City                                    State   ZIP Code
                                                                                                               City                              State      ZIP Code

                                                   Honolulu                                                    Location of principal assets, if different from principal
                                                   County                                                      place of business


                                                                                                               Number        Street




                                                                                                               City                              State      ZIP Code




    5. Debtor's website (URL)                     lanaiatmamalabay.com



    6. Type of debtor                             ❑ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                                  ❑ Partnership (excluding LLP)
                                                  ✔ Other. Specify:
                                                  ❑                             Limited Liability Company




Official Form 201                                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 1
                Case 2:23-bk-15131-WB                      Doc 1 Filed 08/10/23 Entered 08/10/23 13:51:17                                       Desc
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Debtor      Hickam Harbor LLC                                                                                Case number (if known)
           Name
                                                A. Check one:
    7. Describe debtor's business
                                                ❑ Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                ❑ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                ❑ Railroad (as defined in 11 U.S.C. §101(44))
                                                ❑ Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                ❑ Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                ❑ Clearing Bank (as defined in 11 U.S.C. §781(3))
                                                ✔ None of the above
                                                ❑
                                                B. Check all that apply:
                                                ❑ Tax-exempt entity (as described in 26 U.S.C. §501)
                                                ❑ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. § 80a-3)
                                                ❑ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                                C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                   http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                                    7     2   2   5

    8. Under which chapter of the               Check one:
       Bankruptcy Code is the                   ❑ Chapter 7
       debtor filing?

     A debtor who is a “small business
                                                ❑ Chapter 9
     debtor” must check the first subbox. A     ✔ Chapter 11. Check all that apply:
                                                ❑
     debtor as defined in § 1182(1) who
     elects to proceed under subchapter V          ✔ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
                                                   ❑
     of chapter 11 (whether or not the                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     debtor is a “small business debtor”)                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     must check the second sub-box                         operations, cash-flow statement, and federal income tax return or if any of these documents do not
                                                           exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                      ✔ The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                      ❑
                                                           debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                           proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                           balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                           any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                      ❑ A plan is being filed with this petition.
                                                      ❑ Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                           accordance with 11 U.S.C. § 1126(b).
                                                      ❑ The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                           Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                           Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                           (Official Form 201A) with this form.
                                                      ❑ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                                ❑ Chapter 12
    9. Were prior bankruptcy cases filed        ✔ No
                                                ❑
       by or against the debtor within the
       last 8 years?
                                                ❑ Yes. District                                     When                    Case number
                                                                                                           MM / DD / YYYY
     If more than 2 cases, attach a                      District                                   When                     Case number
     separate list.                                                                                        MM / DD / YYYY

  10. Are any bankruptcy cases pending          ❑ No
                                                ✔ Yes. Debtor CCC Consulting Corporation
      or being filed by a business partner
      or an affiliate of the debtor?            ❑                                                                           Relationship Affiliate
                                                         District Central District of California                             When           12/16/2022
     List all cases. If more than 1, attach a
                                                                                                                                           MM / DD / YYYY
     separate list.
                                                         Case number, if known 2:22-bk-16853-ER




Official Form 201                                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 2
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Debtor        Hickam Harbor LLC                                                                          Case number (if known)
             Name


  11. Why is the case filed in this   Check all that apply:

                                      ❑ Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
      district?

                                         immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                         district.
                                      ✔ A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.
                                      ❑
  12. Does the debtor own or have     ✔ No
                                      ❑
      possession of any real
      property or personal property
                                      ❑ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      that needs immediate                      Why does the property need immediate attention? (Check all that apply.)
      attention?                                ❑ It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?


                                                ❑ It needs to be physically secured or protected from the weather.
                                                ❑ It includes perishable goods or assets that could quickly deteriorate or lose value without attention
                                                      (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other
                                                      options).
                                                ❑ Other
                                                Where is the property?
                                                                          Number        Street




                                                                          City                                         State    ZIP Code
                                                Is the property insured?
                                                ❑ No
                                                ❑ Yes.        Insurance agency
                                                              Contact name
                                                              Phone

          Statistical and administrative information

         13. Debtor’s estimation of   Check one:
             available funds?         ✔ Funds will be available for distribution to unsecured creditors.
                                      ❑
                                      ❑ After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                         creditors.

         14. Estimated number of
                                              ✔ 50-99
                                       ❑ 1-49 ❑                           ❑ 1,000-5,000 ❑ 5,001-10,000             ❑ 25,001-50,000 ❑ 50,000-100,000
             creditors                 ❑ 100-199 ❑ 200-999                ❑ 10,001-25,000                          ❑ More than 100,000

         15. Estimated assets
                                       ✔ $0-$50,000
                                       ❑                                     ❑ $1,000,001-$10 million                  ❑ $500,000,001-$1 billion
                                       ❑ $50,001-$100,000                    ❑ $10,000,001-$50 million                 ❑ $1,000,000,001-$10 billion
                                       ❑ $100,001-$500,000                   ❑ $50,000,001-$100 million                ❑ $10,000,000,001-$50 billion
                                       ❑ $500,001-$1 million                 ❑ $100,000,001-$500 million               ❑ More than $50 billion




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 3
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Debtor        Hickam Harbor LLC                                                                                Case number (if known)
             Name



                                            ❑ $0-$50,000                              ✔ $1,000,001-$10 million
                                                                                      ❑                                         ❑ $500,000,001-$1 billion
         16. Estimated liabilities
                                            ❑ $50,001-$100,000                        ❑ $10,000,001-$50 million                 ❑ $1,000,000,001-$10 billion
                                            ❑ $100,001-$500,000                       ❑ $50,000,001-$100 million                ❑ $10,000,000,001-$50 billion
                                            ❑ $500,001-$1 million                     ❑ $100,000,001-$500 million               ❑ More than $50 billion

           Request for Relief, Declaration, and Signatures


 WARNING --           Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
                      imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


         17. Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
             authorized representative of            petition.
             debtor
                                                     I have been authorized to file this petition on behalf of the debtor.

                                                     I have examined the information in this petition and have a reasonable belief that the information is true
                                                     and correct.

                                               I declare under penalty of perjury that the foregoing is true and correct.

                                                   Executed on      08/10/2023
                                                                    MM/ DD/ YYYY



                                               ✘                                                                    Printed name
                                                                                                                                       Edmund Cutting
                                                   Signature of authorized representative of debtor


                                                   Title                     Sole Shareholder



         18. Signature of attorney
                                               ✘                                                                    Date      08/10/2023
                                                                                                                              MM/ DD/ YYYY
                                                   Signature of attorney for debtor



                                                    James E. Till
                                                   Printed name

                                                    Till Law Group
                                                   Firm name

                                                    120 Newport Center Dr
                                                   Number           Street


                                                    Newport Beach                                                      CA              92660
                                                   City                                                               State            ZIP Code



                                                    (949) 524-4999                                                      james.till@till-lawgroup.com
                                                   Contact phone                                                       Email address



                                                    200464                                                              CA
                                                   Bar number                                                          State




Official Form 201                                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 4
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                                        RESOLUTION OF
         HICKM HARBOR, LLC, A HAWAII LIMITED LIABILITY COMPANY



       Edmund Cutting, as the sole shareholder (“Shareholder”) and Chief Executive Officer
(“CEO”) of Hickam Harbor, LLC, a Hawaii limited liability company (the “Company”), adopts
the following resolutions (the “Resolutions”).
       WHEREAS, Shareholder and CEO are familiar with the facts and information relating to,
among other things: (i) the Company’s operations, assets, liabilities, and liquidity; (ii) the
strategic alternatives available to the Company; and (iii) the potential impacts of the foregoing on
the Company’s businesses.
       WHEREAS, Shareholder and CEO, in consultation with the Company’s management and
their professional advisors, have, among other things, evaluated the business alternatives
available to the Company, including, but not limited to: (i) potential equity, debt and other
financing, and sale; (ii) out-of-court and in-court options; and (iii) options available under

subchapter V or chapter 11 of title of the United States Code (the “Bankruptcy Code”)
(collectively, the “Options”).
       WHEREAS, CEO has the power and authority to approve any of the Options or any other
strategic alternatives available to the Company.
       WHEREAS, Shareholder and CEO have determined, in their judgment, that the
Company’s filing a voluntary subchapter V or chapter 11 petition in order to avail itself of

applicable law, including the bankruptcy laws, is in the best interests of the Company, their
creditors, and other interested parties; and that the choice of venue (i.e., the Central District of
California), reflects the preferred venue choice of the Shareholder, the CEO, and the Company.
       NOW, THEREFORE, BE IT:
       RESOLVED, that the Company shall be and hereby is authorized to file or cause to be
filed a voluntary petition for relief under subchapter V or chapter 11 of the Bankruptcy Code in




                                                   1
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the United States Bankruptcy Court for the Central District of California (when filed, the

“Bankruptcy Case”); and it is
        FURTHER RESOLVED that any officer (or legally authorized individual duly acting on
behalf) of the Company (each, an “Authorized Officer”), acting alone or with one or more other

Authorized Officers (though in consultation with the Shareholder), is hereby authorized,
empowered and directed to execute and file on behalf of the Company all petitions, motions,
pleadings, applications, exhibits, schedules, lists, and other papers, instruments, or documents,

and take and perform any and all further actions and steps that they deem necessary, desirable,
and proper to obtain such relief, including, without limitation, any action necessary, appropriate,
or desirable to maintain or improve the operation of the Company’s business, and to cause the
same to be filed in the United States Bankruptcy Court for the Central District of California, at
such time as the Authorized Officers shall determine; and it is
        FURTHER RESOLVED, that the retention by the Company of the law firm of Till Law
Group (“Till Law”) as bankruptcy counsel to represent and assist the Company in carrying out
its duties under either subchapter V or chapter 11 of the Bankruptcy Code, and to take any and
all actions necessary to advance the Company’s rights in connection therewith, including filing
any pleadings, is approved and ratified, and each of the Authorized Officers, with power of
delegation, is hereby authorized and directed to execute and ratify appropriate retention
agreements, pay appropriate retainers, and to cause to be filed an appropriate application for
authority to retain Till Law; and it is
        FURTHER RESOLVED, that in consultation with the Shareholder, each of the
Authorized Officers is authorized and empowered to employ on the Company’s behalf other

professionals necessary to assist the Company in carrying out its duties under the Bankruptcy
Code; and in connection therewith, each of the Authorized Officers is, in consultation with the
Shareholder and with power of delegation, instruments, and other documents and to pay all
expenses, including but not limited to filing fees, in each case as in such Authorized Officer or




                                                 2
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Authorized Officers’ judgment, shall be necessary, appropriate, or desirable in order to fully

carry out the intent and accomplish the purposes of the Resolutions adopted herein; and it is

       FURTHER RESOLVED, that any and all actions heretofore taken by any of the

Authorized Officers or the Shareholder and CEO in the name and on behalf of the Company in

furtherance of the purpose and intent of any or all of the foregoing Resolutions are hereby
ratified, confirmed, and approved in all respects.

       IN WITNESS WHEREOF, the undersigned, being the sole shareholder and CEO of the

Company, hereby execute these Resolutions.


EDMUND CUTTING                                               EDMUND CUTTING



By:_____________________________                             By:___________________________
      Edmund Cutting, as                                          Edmund Cutting, as Chief
      sole shareholder                                            Executive Officer




                                                 3
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                                                                Main Document    Page 8 of 25
 Fill in this information to identify the case:

 Debtor name                              Hickam Harbor LLC

 United States Bankruptcy Court for the:
                               Central District of California


 Case number (if known):                                                                                                                  ❑ Check if this is an
                                                                                                                                             amended filing

Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20
Largest Unsecured Claims and Are Not Insiders                                                                                                                       12/15
A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not
include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the
unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20 largest unsecured claims.

    Name of creditor and complete             Name, telephone number,         Nature of the claim     Indicate if      Amount of unsecured claim
    mailing address, including zip code       and email address of            (for example, trade     claim is         If the claim is fully unsecured, fill in only
                                              creditor contact                debts, bank loans,      contingent,      unsecured claim amount. If claim is partially
                                                                              professional            unliquidated,    secured, fill in total claim amount and deduction
                                                                              services, and           or disputed      for value of collateral or setoff to calculate
                                                                              government                               unsecured claim.
                                                                              contracts)                               Total claim, if    Deduction for       Unsecured
                                                                                                                       partially          value of            claim
                                                                                                                       secured            collateral or
                                                                                                                                          setoff
1     AFLAC                                   (805) 728-5959                  Insurance                                                                           $5,019.45
      ATTN: Rosario Ronquillo
      4500 Park Granada Ste 202
      Calabasas, CA 91302-1666

2     Alaka'i Mechanical Corporation          (808) 834-1085                  Repairs and                                                                         $2,783.50
      2655 Waiwai Loop                                                        Maintenance
      Honolulu, HI 96819


3     Baldinger Insurance                     (800) 877-2348                  Insurance                                                                           $1,906.12
      P O Box 31927
      Las Vegas, NV 89173


4     Berkshire Hathaway Guard Ins Co         (800) 673-2465                  Business Owner's                                                                    $3,473.42
      P O Box 785570                                                          Insurance
      Philadelphia, PA 19178


5     DCL, Inc.                               (808) 845-4600                  Food Supplies                                                                       $2,355.37
      Attn: Theresa Nemoto
      628 Laumaka St
      Honolulu, HI 96819

6     Dust Tex Honolulu                       (808) 369-0817                  Linen supplies                                                                      $1,544.21
      Attn: Mavis Hookala
      B1
      Honolulu, HI 96819

7     ECOLAB                                  (763) 315-9688                  Repairs &                                                                           $5,531.28
      Attn: Joe Perry                                                         Maintenance
      Unknown
      Honolulu, HI

8     GMB Inc                                 (808) 891-1700                  Repairs &                                                                            $837.70
      ATTN: Chris Kim                                                         Maintenance
      98-023 Hekaha Street #602
      Aiea, HI 96701


Official Form 204                             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                             page 1
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                                                           Main Document    Page 9 of 25
Debtor       Hickam Harbor LLC                                                                                Case number (if known)
             Name

    Name of creditor and complete         Name, telephone number,         Nature of the claim     Indicate if      Amount of unsecured claim
    mailing address, including zip code   and email address of            (for example, trade     claim is         If the claim is fully unsecured, fill in only
                                          creditor contact                debts, bank loans,      contingent,      unsecured claim amount. If claim is partially
                                                                          professional            unliquidated,    secured, fill in total claim amount and deduction
                                                                          services, and           or disputed      for value of collateral or setoff to calculate
                                                                          government                               unsecured claim.
                                                                          contracts)                               Total claim, if    Deduction for    Unsecured
                                                                                                                   partially          value of         claim
                                                                                                                   secured            collateral or
                                                                                                                                      setoff
9     Ham Produce and Seafood, Inc.       (808) 841-7171                  Food Supplies                                                                     $5,302.07
      Attn: Elain Tsui
      918 Bannister Street
      Honolulu, HI 96819

10 Kaiser Permanente                      (800) 893-2971                  Health Insurance                                                                 $13,049.15




11 Paradise Beverages, Inc.               (808) 934-1168                  Beverage Supplies                                                                 $2,033.36
   Attn: Aleina Butac
   P O Box 29160
   Honolulu, HI 96820

12 Scottsdale Insurance Company                                           Insurance                                                                        $19,203.93
   P O Box 182451
   Columbus, OH 43218


13 Southern Glazer's                      (800) 276-5148                  Beverage Supplies                                                                 $1,453.20
   Attn: Giam Buitrago
   P O Box 29110
   Honolulu, HI 96820

14 Sysco Hawaii                           (808) 843-3200                  Food Supplies                                                                    $31,349.67
   Attn: Judy Hardy
   P O Box 855
   Honolulu, HI 96819

15 WestGuard Insurance Company            (800) 673-2465                  Insurance                                                                         $3,796.88
   P O Box AH, 39 Public Square
   Wilkes Barre, PA 18703


16 Youngs Market Company/RNDC             (808) 676-6111                  Beverage Supplies                                                                 $9,031.88
   Attn: Gina Martinez
   94-501 Kau St
   Waipahu, HI 96797

17




18




19




20




Official Form 204                         Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                            page 2
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 Fill in this information to identify the case:

 Debtor name                              Hickam Harbor LLC

 United States Bankruptcy Court for the:
                               Central District of California


 Case number (if known):                                                                                                              ❑ Check if this is an
                                                                                                                                         amended filing

Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                               12/15
An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this form for the
schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any amendments of those
documents. This form must state the individual’s position or relationship to the debtor, the identity of the document, and the date. Bankruptcy Rules 1008
and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection with
a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



          Declaration and signature

         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another individual
         serving as a representative of the debtor in this case.
         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

         ❑     Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

         ❑     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

         ❑     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

         ❑     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

         ❑     Schedule H: Codebtors (Official Form 206H)

         ❑     A Summary of Assets and Liabilities for Non-Individuals (Official Form 206A-Summary)

         ❑     Amended Schedule

         ✔
         ❑     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

         ❑     Other document that requires a declaration




         I declare under penalty of perjury that the foregoing is true and correct.



         Executed on     08/10/2023
                          MM/ DD/ YYYY
                                                                            ✘
                                                                                Signature of individual signing on behalf of debtor


                                                                                Edmund Cutting
                                                                                Printed name


                                                                                Sole Shareholder
                                                                                Position or relationship to debtor



Official Form B202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
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                             STATEMENT OF RELATED CASES
                          INFORMATION REQUIRED BY LBR 1015-2
           UNITED STATES BANKRUPTCY COURT, CENTRAL DISTRICT OF CALIFORNIA
1. A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has previously been filed by or
   against the debtor, his/her spouse, his or her current or former domestic partner, an affiliate of the debtor, any
   copartnership or joint venture of which debtor is or formerly was a general or limited partner, or member, or any
   corporation of which the debtor is a director, officer, or person in control, as follows: (Set forth the complete number
   and title of each such of prior proceeding, date filed, nature thereof, the Bankruptcy Judge and court to whom
   assigned, whether still pending and, if not, the disposition thereof. If none, so indicate. Also, list any real property
   included in Schedule A/B that was filed with any such prior proceeding(s).)
    Not applicable


2. (If petitioner is a partnership or joint venture) A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform
   Act of 1978 has previously been filed by or against the debtor or an affiliate of the debtor, or a general partner in the
   debtor, a relative of the general partner, general partner of, or person in control of the debtor, partnership in which the
   debtor is a general partner, general partner of the debtor, or person in control of the debtor as follows: (Set forth the
   complete number and title of each such prior proceeding, date filed, nature of the proceeding, the Bankruptcy Judge
   and court to whom assigned, whether still pending and, if not, the disposition thereof. If none, so indicate. Also, list
   any real property included in Schedule A/B that was filed with any such prior proceeding(s).)
     Not applicable


3. (If petitioner is a corporation) A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has
   previously been filed by or against the debtor, or any of its affiliates or subsidiaries, a director of the debtor, an officer
   of the debtor, a person in control of the debtor, a partnership in which the debtor is general partner, a general partner
   of the debtor, a relative of the general partner, director, officer, or person in control of the debtor, or any persons, firms
   or corporations owning 20% or more of its voting stock as follows: (Set forth the complete number and title of each
   such prior proceeding, date filed, nature of proceeding, the Bankruptcy Judge and court to whom assigned, whether
   still pending, and if not, the disposition thereof. If none, so indicate. Also, list any real property included in Schedule
   A/B that was filed with any such prior proceeding(s).)
    CCC Consulting Corporation, an affiliate, filed a chapter 11 subchapter V petition on 12/16/2022 in the Central
    District of California, before the Honorable Ernest M. Robles, case no. 2:22-bk-16853-ER, the case is pending.

4. (If petitioner is an individual) A petition under the Bankruptcy Reform Act of 1978, including amendments thereof, has
   been filed by or against the debtor within the last 180 days: (Set forth the complete number and title of each such
   prior proceeding, date filed, nature of proceeding, the Bankruptcy Judge and court to whom assigned, whether still
   pending, and if not, the disposition thereof. If none, so indicate. Also, list any real property included in Schedule A/B
   that was filed with any such prior proceeding(s).)
     Not applicable



I declare, under penalty of perjury, that the foregoing is true and correct.



Executed at Los Angeles                     , California
                                                                                       Signature of Debtor 1

Date:   08/10/2023
                                                                                       Signature of Debtor 2

          This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

October 2018                                                          Page 1                             F 1015-2.1.STMT.RELATED.CASES
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 Attorney or Party Name, Address, Phone & Fax Nos.,                                        FOR COURT USE ONLY
 State Bar No. & Email

 James E. Till
 Bar Number: 200464
 Till Law Group
 120 Newport Center Dr
 Newport Beach, CA 92660
 Phone: (310) 721-4645
 Email: james.till@till-lawgroup.com




 ❑ Debtor(s) appearing without an attorney
 ✔ Attorney for Debtor(s)
 ❑
                                                    United States Bankruptcy Court
                                           Central District of California - Los Angeles Division
  In re:
                                                                                           CASE NO.:
  Hickam Harbor LLC
                                                                                           CHAPTER: Chapter 11




                                                                                                                   VERIFICATION OF MASTER
                                                                                                                  MAILING LIST OF CREDITORS
                                                                                                                              [LBR 1007-1(a)]




                                                                            Debtor(s).



Pursuant to LBR 1007-1(a), the Debtor, or the Debtor’s attorney if applicable, certifies under penalty of perjury
that the master mailing list of creditors filed in this bankruptcy case, consisting of 13 sheet(s) is complete,
correct, and consistent with the Debtor’s schedules and I/we assume all responsibility for errors and omissions.


Date: 08/10/2023
                                                                                  Signature of Debtor 1


Date:
                                                                                  Signature of Debtor 2 (joint debtor) (if applicable)


Date:
                                                                                  Signature of Attorney for Debtor (if applicable)




                          This form is optional. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
December 2015
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                             Abel Diaz
                             411 Hobron Lane #3509
                             Honolulu, HI 96818




                             AFLAC
                             ATTN: Rosario Ronquillo
                             4500 Park Granada Ste 202
                             Calabasas, CA 91302-1666



                             Aidan Range
                             401 Ohana Nui Circle
                             Honolulu, HI 96818




                             Alaka'i Mechanical
                             Corporation
                             2655 Waiwai Loop
                             Honolulu, HI 96819



                             Alex Forester
                             254 Lewa Hia Loop
                             Honolulu, HI 96818




                             Alora Kingery
                             246 Lewa Hia Loop
                             Honolulu, HI 96818




                             Anna Al-Khalil
                             4785 Kamakani Pl
                             Honolulu, HI 96818




                             Annie Delane Van Winkle
                             3309 Moreell St
                             Honolulu, HI 96818
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                             ARF Financial
                             433 N. Camden Dr Suite 810
                             Beverly Hills, CA 90210




                             Ashton Buchholz
                             4334 Flaherty Circle
                             Honolulu, HI 96818




                             Austin Atha
                             2300 S Nova Rd Lot 25
                             Daytona Beach, FL 32119




                             Baldinger Insurance
                             P O Box 31927
                             Las Vegas, NV 89173




                             Berkshire Hathaway Guard
                             Ins Co
                             P O Box 785570
                             Philadelphia, PA 19178



                             Boywilly John
                             1416 Middle St Apt 105
                             Honolulu, HI 96818




                             Braydon James
                             205 Third Street Apt A
                             Honolulu, HI 96818




                             Brennan Dosher
                             202 11th St
                             Honolulu, HI 96818
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                             Briana Tyler
                             173 Puni Hele Court Unit 105
                             Wahiawa, HI 96786




                             Brianna McCullen
                             45-315 Lehulila Street
                             Kaneohe, HI 96744




                             Brittnee Richardson
                             907 Hoaano Alley
                             Honolulu, HI 96818




                             Chad Haruguchi
                             1648 Hoolaulea St
                             Pearl City, HI 96782




                             Christina Kalama
                             45-315 Lehuuila St
                             Waianae, HI 96792




                             Edmund Cutting
                             8028 Harrison St
                             West Covina, CA 91791




                             Cynthia Chea
                             1571 Magazine St
                             Honolulu, HI 96818




                             Darrell Kunisaki
                             92-1253 Panana St #8
                             Kapolei, HI 96706
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                             Darwin Quirmit
                             94-152 Awalau St
                             Waipahu, HI 96797




                             DCL, Inc.
                             Attn: Theresa Nemoto
                             628 Laumaka St
                             Honolulu, HI 96819



                             Dennis Ako
                             55 South Kukui St #2403
                             Honolulu, HI 96818




                             Department of Taxation
                             State of Hawaii
                             ATTN: Bankruptcy Unit
                             PO Box 259
                             Honolulu, HI 96809-0259


                             DLIR
                             Director's Office
                             830 Punchbowl St Rm 321
                             Honolulu, HI 96813



                             Dust Tex Honolulu
                             Attn: Mavis Hookala
                             B1
                             Honolulu, HI 96819



                             ECOLAB
                             Attn: Joe Perry
                             Unknown
                             Honolulu, HI



                             Edmund Cutting
                             604 Wrede Way
                             West Covina, CA 91791
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                             Edmund Cutting
                             8028 Harrison St
                             West Covina, CA 91791




                             Erika White
                             94-103 Pupuole Place Apt A
                             Waipahu, HI 96797




                             Esmeralda Cazares
                             2977 Ala Ilima Street
                             Honolulu, HI 96818




                             Eusebio Arceo
                             91-1105 Pohahawai Place
                             Ewa Beach, HI 96706




                             Franchise Tax Board
                             Chief Counsel
                             PO Box Box, MS: A-260
                             Rancho Cordova, CA 95741-1720



                             Gabriel Davis
                             94-233 Anapau Place
                             Waipahu, HI 96797




                             Gabriel Kaulia
                             1154 Paakamaa St
                             Pearl City, HI 96782




                             Gabriell Garvin
                             247 Melia St
                             Honolulu, HI 96818
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                             Garvin Garvin
                             247 Melia St
                             Honolulu, HI 96818




                             Gideon Johnson II
                             85-1261 Kumaipo Street
                             Waianae, HI 96792




                             Glen Galligan
                             3731 Kanaina Ave #335
                             Honolulu, HI 96818




                             Glenn Galligan
                             3731 Kanaina Ave #335
                             Honolulu, HI 96818




                             GMB Inc
                             ATTN: Chris Kim
                             98-023 Hekaha Street #602
                             Aiea, HI 96701



                             Grace Rabener
                             307 Gemini Ave
                             Honolulu, HI 96818




                             Ham Produce and Seafood,
                             Inc.
                             Attn: Elain Tsui
                             918 Bannister Street
                             Honolulu, HI 96819


                             Harrison Craven
                             203a 2nd Street #A
                             Honolulu, HI 96818
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                             Hawaii Department of
                             Taxation
                             830 Punchbowl Street
                             Honolulu, HI 96813



                             Internal Revenue Service
                             PO Box Box 7346
                             Philadelphia, PA 19101-7346




                             Isces Morgan
                             901 Hoaano Aly
                             Honolulu, HI 96818




                             Jessica Barnes
                             148 Bush Lane
                             Honolulu, HI 96818




                             Joei Hager
                             836 Ohana Nui Circle
                             Honolulu, HI 96818




                             Josiah Bejer-Barro
                             36 Iho Iho Place
                             Wahiawa, HI 96786




                             Julian Beasley
                             750 Amana Street
                             Honolulu, HI 96818




                             Justine Keith Jamorabon
                             91-1055 Puhipaka St
                             Ewa Beach, HI 96706
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                             Kaiser Permanente




                             Karla Wilbanks
                             208 Mercury St
                             Honolulu, HI 96818




                             Katie Kittrell
                             423 Kanekapolei St #105
                             Honolulu, HI 96815




                             Katrina King
                             6013 Farm St
                             Pearl City, HI 96782




                             Kelsi Gutierrez Lomeli
                             1311 Ulupii St
                             Kailua, HI 96734




                             Kenneth Asencio
                             3161 Ala Ilima Street Apt 110
                             Honolulu, HI 96818




                             Kennice Cooper
                             900 Murray Dr
                             Honolulu, HI 96818




                             Latesha Barrett
                             4045 Iron Loop
                             Honolulu, HI 96818
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                             Lili Keeman
                             5253 Olopau St
                             Kapaa, HI 96746




                             Ma McDonald
                             94-1073 Eleu Street
                             Waipahu, HI 96797




                             Mackenzie Allen
                             628 McGrew Loop
                             Aiea, HI 96701




                             Maddy Byford
                             1203 Cornet Ave
                             Honolulu, HI 96818




                             Madeline White
                             94-1111 Mikilana Pl
                             Waipahu, HI 96797




                             Maranda Bell
                             727 Ohana Nui Circle
                             Honolulu, HI 96818




                             Mathew Swetnam
                             321 Lewa Mawaho Loop
                             Honolulu, HI 96818




                             Megan McDonnell
                             2121 Algaroba St #805
                             Honolulu, HI 96818
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                             Melissa Sizemore
                             1806 Tinker Ave
                             Honolulu, HI 96818




                             Michael Rathyen
                             91-1015 Kailoa St
                             Ewa Beach, HI 96706




                             Mikaya Day
                             1501 Fox Blvd
                             Honolulu, HI 96818




                             Natasha Boyd
                             5306 B Iroquois Ave
                             Ewa Beach, HI 96706




                             Nexcom
                             Attn: Patricia
                             3280 Virginia Beach Blvd
                             Virginia Beach, VA 23452



                             Olivia Brambila
                             4629 Ke Street
                             Honolulu, HI 96818




                             Owen Sullivan
                             4791 Kamakani Place
                             Honolulu, HI 96818




                             Pamela Mendoza
                             2852 Arizona Rd
                             Honolulu, HI 96818
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                             Paradise Beverages, Inc.
                             Attn: Aleina Butac
                             P O Box 29160
                             Honolulu, HI 96820



                             Patricio Morales
                             94-340 Pupukahi Pl
                             Waipahu, HI 96797




                             Patsyann Sutton
                             964 E Badillo St #314
                             Covina, CA 91724




                             Peter Ryan Deleon Guerrero
                             137 Aupaka Street
                             Honolulu, HI 96818




                             Randy Pedro
                             91-1024 E Hoomaka St
                             Ewa Beach, HI 96706




                             Raquel Gonzalez
                             2351 Coral St
                             Los Angeles, CA 90031




                             Ricardo Marin, Jr.
                             94-995 Kaaholo St
                             Waipahu, HI 96797




                             Rose Adoulf
                             416 D Maluniu Ave
                             Kailua, HI 96734
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                             Samantha Allen
                             McGrew Loop
                             Aiea, HI 96701




                             Scottsdale Insurance
                             Company
                             P O Box 182451
                             Columbus, OH 43218



                             Skye Comilang-Boyd
                             91-886 Makule Road #302
                             Ewa Beach, HI 96706




                             Small Business
                             Administration
                             Administrator
                             Washington, DC 20416



                             Southern Glazer's
                             Attn: Giam Buitrago
                             P O Box 29110
                             Honolulu, HI 96820



                             Sydni Murdoch
                             2407 Challenger Loop Unit D
                             Honolulu, HI 96818




                             Sysco Hawaii
                             Attn: Judy Hardy
                             P O Box 855
                             Honolulu, HI 96819



                             Teresa Gabriel
                             1454 Nanakai St
                             Pearl City, HI 96782
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                             US Attorney, District of HI
                             PJKK Federal Building
                             300 Ala Moana Blvd Rm 6-100
                             Honolulu, HI 96850



                             US SBA
                             HI District Office (Legal/Bankruptcy)
                             500 Ala Moana Blvd Ste 1-306
                             Honolulu, HI 96813



                             Venessa Cotton
                             94-103 Pupuole Place
                             Waipahu, HI 96797




                             Victoria Blair
                             172 19th Street
                             Honolulu, HI 96818




                             WestGuard Insurance
                             Company
                             P O Box AH, 39 Public Square
                             Wilkes Barre, PA 18703



                             Youngs Market
                             Company/RNDC
                             Attn: Gina Martinez
                             94-501 Kau St
                             Waipahu, HI 96797


                             Zachary Forester
                             254 Lewa Hia Loop
                             Honolulu, HI 96818




                             Ziannah Polston
                             578 Dickson Lane
                             Honolulu, HI 96818
